Case 2:20-cv-01575-SVW-KS Document 26 Filed 09/18/20 Page 1 of 2 Page ID #:116




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 9                      UNITED STATES DISTRICT COURT
 10                    CENTRAL DISTRICT OF CALIFORNIA
 11
      ALLAN V. SATTERWHITE,                      Case No.: 2:20-cv-01575-SVW-KS
 12                                              Hon. Stephen V Wilson Presiding
 13   Plaintiff,

 14   v.                                         ORDER ON STIPULATION TO
                                                 DISMISS ACTION WITH
 15                                              PREJUDICE
      CRAFT AND TAILORED, LLC , et al.,
 16

 17   Defendants.

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                     [PROPOSED] ORDER ON STIPULATION TO DISMISS ACTION
Case 2:20-cv-01575-SVW-KS Document 26 Filed 09/18/20 Page 2 of 2 Page ID #:117




 1                                         ORDER:
 2         FOR GOOD CAUSE APPEARING, THE FOLLOWING IS HEREBY
 3    ORDERED:
 4
           1.    The action is dismissed with prejudice; and
 5
           2.    The parties will each bear their respective costs and attorneys’ fees as
 6
                 incurred against one another in connection with this action.
 7
           SO ORDERED.
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 10   Dated:    September 18 , 2020        By:
                                                 HON. STEPHEN V WILSON
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                                                 UNITED STATES DISTRICT JUDGE
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                      [PROPOSED] ORDER ON STIPULATION TO DISMISS ACTION
